             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                              2:09-CR-29-3


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )             ORDER
                                            )
JONATHAN THAD LACKEY,                       )
                                            )
                 Defendant.                 )
__________________________________          )


       THIS MATTER coming on to be heard before the undersigned, pursuant to a

motion filed by defendant’s counsel entitled “Motion for Pretrial Release” (#64).

                                     ORDER

       IT IS, THEREFORE, ORDERED that the “Motion for Pretrial Release”

(#64) is hereby DENIED. Findings of fact regarding the hearing of this motion and

conclusions are set forth in an Order of Detention which is being entered herewith.



                                         Signed: December 29, 2009




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